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10
11                       UNITED STATES DISTRICT COURT
12                      EASTERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,       )        CASE NO.:    1:07-CR-0282-LJO
                                     )
15                        Plaintiff, )         ORDER CONTINUING
                                     )        DEFENDANT UBALDO AYON-
16        v.                         )        HERRERA’S SENTENCING HEARING
                                     )
17   UBALDO AYON-HERRERA,            )
                                     )
18                        Defendant. )
     ________________________________)
19
20
21        Upon consideration of defendant’s Ex Parte Application, and
22   for good cause shown,
23
24        The defendant Ubaldo Ayon-Herrera’s sentencing hearing is
25   continued from the currently scheduled date of March 27, 2009, but
26   not for the four and one-half weeks requested.        Due to the crowding
27   situation at the Fresno County Jail, such a delay can not be
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 1   justified.     The matter will be continued two weeks, to April 10,
 2   2009 at 9:00 a.m.
 3
 4   IT IS SO ORDERED.
 5   Dated:   March 24, 2009               /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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